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                                                          uNITnD sTATEs DlsTRICT cOuRT
                                                           FOR TIIn DISTRICT oF OREGON

      UNITED STATES OF AMERICA                                                                                                            oRI>ER snTTING cONI]ITIONs
                                     V.                                                                                                                  tjlt` IunLE^su

       Camci.on Knutson                                                                                                                   Case Numbei.: 3 :20-CR-00258-MO-I


     IT IS ORDERED tl`at the I.elease of the defendaiit is siibject to tlle following coiiditions:


                  TI`e (lefei`daiit shall iiot commit ally offense in violation of` fedei.al, state oi. local law while on I.elease ill this case.
                  'l`l`e defendaiit miist cool)ei.a(e ill the collection of a DNA sample if the collection is au{hoi.ized by 42 U.S.C § 14135a.

=#(;)             The defeiidaiit shall immediately advise the coilrt thi.oiigh l'I.etiial Sei`vices or defeiise coiinsel in wi.iting of any chaiige in



 E   (4)
                  addi.ess ai`d telephone niimbei..
                  The defendalit shall api)ear at all pi-oceediiigs as requji.ed an(I shall siirl.ei`dei. fol. sei.vice of ally seiitei`ce iiTiposed as dii.ected
                  The defendalil shall next ai)pear as dii.ected by U.S. District Cowl.t.


                                                                          Additional Coll{]iti()ns of Release

     IT IS FURTHER ORDERED that the defeiidant I)e released pi.ovided that tlie defel`daiit:

     44(
                  Colnply with the following cut.;e¥'£6``p:Li'%=:'6:oo zHn.                                                            /8: °° P~\ -{..o¢ A4^
  _ut             Do not entei. within a flve-block radius of the U.S. Couilhouse at 1000 S.W. Thii.d Avenue, Poi.flan(I, OR
                  97204 unless on o±`ficial couil business.


                                                                          A{lvice of Peiialties and Saiictiolis
     TO TI-IE DEFENDANT:
             YOU ARE ADVISED OF THE FOLLOWING I'Ii:NALTIES AND SANCTIONS:
                  A \Jittlatioii of`aiiy of` (he fol.egoiiig conditions of I.elease inay resi]]t i)1 (he imiliediale jss`iat`ce ol`a wa]Talit f`()I yoiir ari.est, a ievocati()n of`
     I.elcasc, an `)I.(lcr ot` dc{cntioi`, f`orf.eil`ire of bond, z`iid a prosec`ilit.n f`t)I contctiipt i)l`coiiit aii{l coiild res\ilt in a te].in of` impiisonn`eii(, a fii`e, or botlt.
                  The coli`i`iission ot` any crime wl`ile oi` r)I-e-trial release niay res`ill in €`n a(lditional sei`tence to a temi c)f iiiii7i.isonmeiit of rio( more than ten
     yci\i.s, if`tl`e ot`t.ense i``` a f`elol`y; or a tei.ni of` iiiipris{)iili`eiil of.not niore than oiie yeal., if`the offei`se is a misde[neai\or.   This sentel`ce sh{ill be ill at]tli(ioi`
     ({) .1I`y oll`ei. sei`tei`ce.

                  Feileral law niakes it a crime piinishable by ii[) (o tell yeal.s of in`prisoiii`1en(, ai`d a $250,000 fii`e oi. bot]` to il`tiiT`id.itc oi. attcmpt 1o intin`j(ta(e
     {t will)ess, \JicLini, juior, iliformalit oi-officer of` (he co`irt, or to obstriict a criliii)lal ii`vcstigatioit.         It js also ii crime punishable hy up t(. (ei` years ot`
     inii)ris(}t`ii`ei`t, ti $250,000 fii`e or I)otl`, lo tamper wi(h a wi(ness, victim or informaiit, or (o I.ct!iliate agai)`st a v\Jitness, vie(im or ii`t`omial`t, t>r (o (l`rei`len
     i)r dtlei``|)I to CIO so.


                  It` after release, yoii knowingly fail to appear as req`iired by tl`e col`ditioi`s ot` I-eledsc, or lo siiri.en(lel. l`or tl`e sei.vice ot` sell(ei`ce, yo`i i``z`y be
     i7roscciiled ftil. failii`g lo appear or s`Irrei)der zm{l ad(litjolial piniisl`i``en( T`itiy be imposed.         Il`yoii a]-c col`vlc(ed ot`:
     (I)             tni off.cnsc pul`ishable by {1eat!`, Ij[`e imT)risoiime[`(, or impriso]m]elit l`ol. a te" of fitieet` yeai.s oi' more, y(7ii sli€`ll be rille(I t`ot more lliai}
                  $250,000 ot. iliiprisoile(I f`or Ilo il`ore thati (en years, ()r I)()(li;
     (2)            tiiH>ft`e[`se p\uiisl`able by imp[is()]tii`cnt f`()r a (ci.in ot` five yeai.s oi. mol.e, but less (hal) f`ifleef` years. yoii sl`all `)e tli`e(I tiot moi.e thz`i` $250,()()()
                  oi- i(i`prisoned for iio ni{)re thaii l'Ive yeal.s, or liolh;
     (3)            {ii`y ot}`ei. r`el{.ny, yo`i slt:Ill be tilled no( moi'e than $250,000 or iiiiprisoiicd Ilo iiiore thal` two yei`rs, or bo(h;
     (4)             a [i`isdemeanoi., yo`[ shall be fined i`ot more than sloo,000 or il`ii)risoncd not ino[.e (l`al` one yeat., or botl`;


                  A term ol` inii)risoninent impose(I t`ol. failure lo appear or siirren(lei` sllall bc in additi()n to (l`e se]`te]ice foi. a[)y o(lie). ot`t`elise.        In :`{lili{it)n, {i
     ``ai]iire to :`!)I)ear may I.es`ilt in tl`e forfeitiire of`any L7on(I posted.
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                                                                      Acl{iiowledgment of Dcfei`d!`nt


           I ackii(.wle(lge ll`at I ain {l`e dc[.cl`dai`( in (l`is case all(1 t]ial I am a\vai`e ot` Il`c con(litit7ns of i'elease.     I promise (o obey all condi(ioiis t7t`
t'elease, to ai)I)car as direc(ed, at`d to siil.rei`der for service ol`ariy seiilclice imi)osctl.       I am awai.e of` tl`e penal(ies a[`d sane(ions set for(li above.




                                                                                                                                      City, State &


S|)ecial Needs Findii]g:
Ba``e(I iii7ttli (he al]ove coiiditions, ii`cliidii`g the conditioiis I.elatiiig to:
I           Alcohol detection
I           Di.iig detection
I           Coi`iputei' monitoi.iiig
Tlie Coim is reasonably assiii`ed the defendant will appeal. as dii.ecte(I an(I iiot pose a daiiger to the coiiimiiiiity or ally other pei.son.


Directiolis t.o the Ui`ited States Marshal
EE            'I`he defendaiit is ORDERED I.eleased aftei. I)I.ocessing.
LJ            Tl`e defendai`t is ORDERED lempc)I.arily I-eleased.
I           'I`he Uniled States Marslial is ORDF,RED to keep the defenda]`t in ciistody iintil notified by the clerk, I'i.etiial Sei`vices ol.
           j`i(licial ()mcei. that (he defei`dant has posted bond and/oi. complied with all other conditions foi-I.elease inclutling si]ace
            availability at a commiinjty corl.ections center ()I. I.esidelitial tl-eatmei`t facility. If s(ill in ciistody, the defendalll `shall be
            iirodiiced befoi.e the duty Magisti.ate Jiidge oii                                                                dl




Dan;:`=±irffanf,>t '\

                   1/-



                                                                                                                      .. ' Sigi`atiii.e of Jiidicial Ofricer

                                                                                                                               Jo]m V. Acosta
                                                                                                                            `J.S. Magistrate Jilclge

                                                                                                                    Name al`d Title of Jiidicial Of.ficel.




cc:          Defct`dai`(
            US Atto,.I,ey
            US Mai.shal
            Pi.e{rial Sei`vices




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